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                              Case No. 24-12936


                          IN THE
 UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT


   CATOOSA COUNTY REPUBLICAN PARTY and JOANNA HILDRETH

                                                      Plaintiffs—Appellants
                                      v.

         CATOOSA COUNTY BOARD OF ELECTIONS AND
    VOTER REGISTRATION, TOMMY DAVIS, RON MCKELVY, NINA
      CRAWFORD, MARVIN CORNELISON, and TONYA MOORE

                                                     Defendants—Appellees



         APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF GEORGIA, ROME DIVISION
                   CASE NO.: 4:24-CV-00095—WMR




                           BRIEF OF APPELLEES


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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Pursuant to 11th Cir. R. 26-1(a)3), the following is a complete list of trial

judges, attorneys, persons, associations, firms, partnerships, or corporations that

have an interest in the outcome of this particular case.

      Except for the persons listed below, Appellants properly identified all

interested persons in their Appellants’ Brief


   1. Harris, Christopher M. (Attorney for Appellees)

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              STATEMENT REGARDING ORAL ARGUMENT


      The issues on this appeal do not merit oral argument. While the Appellants’

claims are novel, the reasons for affirming the district court’s dismissal are not.

Appellees concur with Appellants; oral argument is not necessary.




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        STATEMENT OF THE ISSUES PRESENTED FOR REVIEW



  I.    Whether a county level political party has standing to assert a First

        Amendment Freedom of Association claim when the county level political

        party does not qualify or endorse candidates placed on a primary ballot.


  II.   Whether partisan ballot questions processed by a local board of elections

        and the Georgia Secretary of State for placement on a primary ballot

        implicates the Freedom of Speech Clause of the First Amendment.




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                         STATEMENT OF THE CASE


   A. Statement of Facts
                           Catoosa GOP v. Candidates

      Plaintiff/Appellant Catoosa County Republican Party is the county level party

organization for the Georgia Republican Party, and Plaintiff/Appellant Joanna

Hildreth is the current chair of the Catoosa County Republican Party (hereinafter

Appellant Catoosa County Republican Party and Appellant Hildreth may

collectively be referred to as the “Catoosa GOP”). [R. 10-11]. During the week of

qualifying for Georgia’s May 21, 2024, General Primary (the “Primary”), four

individuals (the “Candidates”) seeking county office attempted to qualify through

the Catoosa GOP pursuant to O.C.G.A.§ 21-2-153(b) as Republican candidates for

various partisan county commission seats up for election in 2024. [R. 15]. The

Catoosa GOP, however, refused to qualify the Candidates because certain, unknown

members of the Catoosa GOP do not believe the Candidates are Republicans, and

therefore the Candidates were unable to qualify for the Primary through the Catoosa

GOP as provided in O.C.G.A. § 21-2-153(b). [R. 16].

      Because the Candidates were unable to qualify through the Catoosa GOP, the

Candidates filed suit in the Catoosa County Superior Court against the Catoosa GOP



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and its officers. [R. 17-18, see specifically n. 4]. On March 8, 2024, the Candidates

sought and received an order from the Catoosa County Superior Court (the “March

8 Order”) directing Appellees Catoosa County Board of Elections and Voter

Registration 1 (hereinafter all Appellees may collectively be referred to as the “Board

of Elections”) to qualify the Candidates as Republicans for the Primary. [R. 17].

Acting pursuant to the March 8 Order, the Board of Elections qualified the

Candidates as Republican candidates for local office. [R. 17]. A true and correct copy

of the March 8 Order is attached as Exhibit “A”. The Catoosa GOP immediately

appealed the March 8 Order seeking, among other things, the extraordinary remedy

of having the Candidates removed from the Primary ballot. On September 17, 2024,

the Georgia Supreme Court dismissed the Catoosa GOP’s appeal of the March 8

Order. See Catoosa County Republican Party et al. v. Henry et al., 319 Ga. 794

(2024).

      Soon after the Board of Elections qualified the Candidates pursuant to the

March 8 Order, various electors in Catoosa County (including Appellant Hildreth)




1
  Of the five (5) member Catoosa County Board of Elections, Tommy Davis, Ron
McKelvy, Nina Crawford, and Marvin Cornelison are named as
Appellees/Defendants in this lawsuit. The fifth defendant, Tonya Moore, is a full-
time employee of the Board of Elections and is the “elections director” for Catoosa
County.

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filed elector challenges pursuant to O.C.G.A. § 21-2-6. [R. 18-19]. Abiding by the

provisions of O.C.G.A. § 21-2-6 (b), the Board of Elections then held a hearing on

April 2, 2024, to address the electors’ challenges to the Candidates’ qualifications

for office. [R. 18-19]. At the conclusion of the hearing, the Board of Elections, by a

vote of 4-1, ruled that the Candidates were properly qualified and would remain

listed as Republican candidates on the Primary ballot. [R. 19-20]. After the Board of

Elections’ ruling, several electors, including Appellant Hildreth, filed a Petition for

Review in the Catoosa County Superior Court. The Petition for Review, however,

was soon dismissed. On May 17, 2024, the Catoosa County Superior Court

dismissed all elector challenges (including the challenge of Appellant Hildreth)

appealed from the April 2 hearing. A true and correct copy of the May 17, 2024

Superior Court Order dismissing the elector challenges is attached hereto as Exhibit

“B”. Notably, Appellant Hildreth did not appeal the dismissal of her elector

challenge.

                                  Ballot Questions

      On the same day the Catoosa County Superior Court ordered the Board of

Elections to qualify the Candidates, Appellants Hildreth and the Catoosa GOP,

presumably in response to the March 8 Order, submitted handwritten ballot

questions (the “Ballot Questions”) to Appellee Tonya Moore, Catoosa County

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Elections Director, for placement on the Primary ballot. [R. 17]. The Ballot

Questions referred to the Candidates by name and strongly suggested the Candidates

were “anti-Trump Democrats”. The Ballot Questions may be found in their entirety

in the Record at 54-55.

      One week later, Appellant Hildreth, and by extension the Catoosa GOP,

received an email from the Georgia Secretary of State’s Office stating that the

“Secretary of State cannot publish party questions on the ballot that contain the

names of candidates or commentary regarding those candidates, as that constitutes

unlawful electioneering.” [R. 206-211]. The Secretary of State then gave the Catoosa

GOP the option of submitting new ballot questions by “5:00 p.m. on March 18.” The

Catoosa GOP made no attempt to submit substitute ballot questions pursuant to the

Secretary of State’s email. [R. 206].

      Importantly, the Catoosa GOP concedes that the “Secretary of State’s office

contacted the [Catoosa GOP] with concerns about the content of the Ballot

Questions.” [R. 26]. Furthermore, the Catoosa GOP claims they “notified” the

Secretary of State (a non-party in this action) “that they had not changed their request

for the Ballot Questions to be placed on the Catoosa County Republican primary

ballot as submitted.” [R. 26]. The Catoosa GOP, however, makes no allegation that

they ever communicated with any member of the Board of Elections about their

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objection to the Secretary of State’s characterization of the Ballot Questions as

unlawful electioneering or their insistence that the Ballot Questions, as originally

submitted on March 8, should appear on the Primary ballot.


   B. Procedural History

      The Complaint. The Catoosa GOP filed their Complaint on April 5, 2024, in

the United States District Court for the Northern District of Georgia, Rome Division.

[R. 10]. The Catoosa GOP named as defendants four of the five members of the

Catoosa County Board of Elections and Voter Registration, to wit: Tommy Davis,

Ron McKelvy, Marvin Cornelison, and Nina Davis. [R. 10]. The Catoosa GOP also

named as a defendant Elections Director Tonya Moore, a full-time county employee

who reports to the Board of Elections but is not a member of the Board. [R. 10].

      The Complaint alleges two § 1983 claims against all individual Appellees and

the collective Board of Elections and Voter Registration. Count I alleges that the

Board of Elections violated the Appellants’ right of “Freedom of Association” by

following the March 8 Order and qualifying the Candidates for the Primary. Count

II alleges that the Board of Elections violated the Catoosa GOP’s Freedom of Speech

rights by not allowing the Ballot Questions to appear on the Catoosa County

Republican Primary ballot due to the Georgia Secretary of State deeming the



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questions as unlawful electioneering. Neither count specifically identifies which

Appellee(s)/Defendant(s) is/are liable under each claim.

      The Board of Elections’ Motion to Dismiss. The Board of Elections moved

to dismiss the Catoosa GOP’s Complaint on May 3, 2024, under Federal Rule of

Civil Procedure 12(b)(6). The Board of Elections argued in support of its Motion

that the Catoosa GOP lacked standing to assert either First Amendment Claim.2

Specifically, neither § 1983 claim brought by the Catoosa GOP asserts a

particularized injury fairly traceable to the Board of Elections. Moreover, neither

claim properly asserts a municipal liability claim under Monell. The Board of

Elections also asserted the defenses of qualified and absolute immunity for any

claims brought against the Board of Elections in their individual capacities. The

Catoosa GOP responded in opposition to the Motion to Dismiss on May 17, 2024.

      The District Court’s Order. On September 9, 2024, the district court granted

the Board of Elections’ Motion to Dismiss. [R. 75]. The district court agreed that the

Catoosa GOP lacked standing to bring its Freedom of Association Claim, although




2
  The Board also argued in its Motion to Dismiss that the federal district court
should apply the Younger abstention doctrine because two state court cases
involving the same issues were then pending. Because the two state court cases
have now been disposed of, Younger is no longer applicable.

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its analysis differed from the Board of Elections’ arguments contained in the Motion

to Dismiss. The district court concluded the Catoosa GOP’s Freedom of Association

Claim must be dismissed because:

      “a county political party’s associational rights are not injured ‘in a
      personal and individual way’ where the party does not qualify or
      endorse the candidates and particularly where state law provides no
      discretionary authority for the party to deny the candidates access to the
      ballot.”

[R. 85].

      The district court also dismissed the Catoosa GOP’s Freedom of Speech Ballot

Questions Claim because there is no First Amendment Protection of government

speech, and the Ballot Questions at issue meet all three criteria—history,

endorsement, and control—for concluding the Ballot Questions are in fact

government speech. In its Order, the district court agreed with the Georgia Secretary

of State’s assessment that the Ballot Questions the Catoosa GOP sought to have

placed on the Primary ballot constituted unlawful electioneering. [R. 90].

Specifically, Judge Ray noted that “[t]here is no doubt that the Secretary of State

correctly identified the Plaintiffs’ proposed ballot questions as an attempt at

influencing voters by strongly implying that the Candidates are ‘anti-Trump

Democrats’”. [R. 90]. Furthermore, the district court saw “no reason to believe that




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Georgia’s long-standing prohibition on campaigning within a polling place would

not apply to a political party’s ballot questions.” [R. 91].


                           SUMMARY OF ARGUMENT

      The Court should affirm the dismissal of the Appellants’ Complaint for

several reasons.

      First, the Catoosa GOP and Hildreth lack standing to assert a Freedom of

Association Claim against the Board of Elections. As the court below recognized,

the Catoosa GOP never actually qualified or endorsed the Candidates and therefore

the Catoosa GOP cannot show forced or compelled association with those

Candidates. Simply put, there was no injury particularized to the Catoosa GOP.

      Second, even if the Catoosa GOP could show a particularized injury, the injury

cannot be “fairly traceable” to the Board of Elections. The Catoosa GOP recognizes

and admits that the Board of Elections qualified the Candidates only because the

Catoosa County Superior Court ordered the Board of Elections to qualify the

Candidates.

      Third, the Catoosa GOP plaintiffs have not properly asserted a municipal

liability claim under Monell. The Catoosa County Superior Court—not the Board of

Elections or its employees—crafted the policy that landed the Candidates on the

Primary ballot against the wishes of the Catoosa GOP. Moreover, any claim based

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on the Board of Elections decision of April 2, 2024, fails because that decision is

immediately appealable to the Catoosa County Superior Court and cannot be the

basis for municipal liability under Monell.

        Also, this Court should affirm dismissal of the Catoosa GOP’s Freedom of

Speech Claim because ballot questions permitted under state law do not trigger First

Amendment protection. Indeed, ballot questions are not private speech; ballot

questions are government speech. And in any event, there is no First Amendment

right to engage in unlawful electioneering inside a polling location.

        Finally, all individually named Appellees/Defendants are entitled to qualified

and/or absolute immunity.


                                    ARGUMENT

   I.      The Catoosa GOP Lacks Standing to Assert its First Amendment
           Freedom of Association Claim.

   A. The Catoosa GOP has not asserted a concrete injury.


        Article III of the Constitution mandates that federal courts only have

jurisdiction over “Cases” and “Controversies”. U.S. Const. art. III, § 2. Well settled

federal jurisprudence requires plaintiffs to demonstrate three (3) elements to

establish standing: (1) injury in fact; (2) causation; and (3) redressability. Sierra v.

City of Hallandale Beach, 996 F.3d 1110, 1112 (11th Cir. 2021).

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      Specifically, the “injury in fact” element requires plaintiffs to demonstrate a

“concrete and particularized injury.” Id. at 1113. And an “injury is particularized

when it ‘affect[s] the plaintiff in a personal and individual way.’” Id. Further, “[t]o

be concrete, the injury must be ‘real, and not abstract’” and must affect the “plaintiff

in a personal and individual way.” Id. The Catoosa GOP argues that it was injured

by the Board of Elections “using government action to control the associations” of

the Catoosa GOP and “applying the law to force association” with the Candidates.

[R. 24]

      Such sweeping, generalized allegations, however, do not rise to the level of

asserting a “concrete and particularized injury”. The Catoosa GOP further argues

more broadly that a series of Eleventh Circuit and Supreme Court cases dealing with

political parties and primaries affords the Catoosa GOP the unfettered First

Amendment right to privately vet local candidates for placement on a primary

ballot—and, of course, the Catoosa GOP also necessarily argues that if Georgia law

conflicts with their First Amendment interpretation (and it does), then any such

statute must be held unconstitutional.3 [See Appellants’ Brief, pp. 20-21]




3
 The Catoosa GOP makes no effort to explain why a county board of elections is
subject to § 1983 liability for an unconstitutional state statute.
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      The Catoosa GOP’s reliance on a string of Eleventh Circuit and United States

Supreme Court cases is misplaced. In California Democratic Party v. Jones, 530

U.S. 567 (2000), the United States Supreme Court summarized a litany of previous

Supreme Court cases (including those cited by Appellants) that recognize the right

of states to regulate political parties’ internal processes so long as they act within

limits imposed by the Constitution. Id. at 573. In short, and as noted by the district

court below in its order of dismissal, the Appellants’ associational rights are not

absolute. No Supreme Court case has held that a political party has “unfettered

control of who can appear on the ballot and how.” [R. 79] Indeed, the California

Democratic Party v. Jones opinion specifically—and broadly—recognized a state’s

compelling interest in regulating the primary system:

      “We have recognized, of course, that States have a major role to play in
      structuring and monitoring the election process, including primaries.
      [Internal Citations Omitted] We have considered it “too plain for
      argument”, for example, that a State may require parties to use the
      primary format for selecting their nominees in order to assure that
      intraparty competition is resolved in a democratic fashion.”

California Democratic Party, 530 U.S. at 572 (emphasis added).

      The Catoosa GOP also mistakenly relies on a trio of Eleventh Circuit cases

involving presidential candidate David Duke’s attempt to force his way on to the

1992 Georgia Presidential Primary Ballot. See Duke v. Massey, 87 F.3d 1226 (11th


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Cir. 1996) (hereinafter “Duke III”). In Duke III, this Court recognized that Duke was

“correct in identifying his First and Fourteenth Amendment interests”, but this Court

ultimately held those “interests do not trump the Republican Party’s right to identify

its membership based on political beliefs nor the state’s interests in protecting the

Republican Party’s right to define itself. Id. at 1233. The Duke opinion further

recognized that states “have an interest in regulating the time, place and manner of

elections” and a “responsibility emanating from that interest is the state’s duty to

determine how many names will appear on a primary ballot.” Id. Simply put, “states

have a significant interest in structuring and regulating elections in order to facilitate

order, honesty and fairness.” Id. Moreover, and most importantly, “[c]ommon sense

dictates that states must regulate elections and that the regulations will necessarily

impose some burden upon voters and parties.” Id. (emphasis added)

      There are, however, similarities in the Duke cases and this case—but those

similarities undermine the Catoosa GOP’s claims here. Both cases involve Georgia

statutes that regulate the way candidates qualify to appear on a primary ballot. David

Duke did not appear on Georgia’s 1992 Presidential Primary Ballot because

O.C.G.A. § 21-2-193 set forth precise rules governing how presidential candidates

are selected to appear on a ballot during a presidential preference primary. And in




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Duke, this Court held that the Georgia statute governing presidential preference

primaries was constitutional.

      In this case, this Court should also hold that the Georgia statute governing the

qualification of candidates for local office is constitutional. The operative statutory

language provides that “all candidates for party nomination in a state or county

primary shall qualify as such candidates in accordance with the procedural rules of

their party. . .” O.C.G.A. § 21-2-153(b) (emphasis added). The term “procedural

rule” is not further defined in the statute, but the Catoosa GOP’s interpretation of the

term “procedural rule” is simply not reasonable and has no basis in law. Black’s Law

Dictionary defines “rule of procedure” as a “judicial rule or manner for carrying on

a civil lawsuit or criminal prosecution”. The Catoosa GOP’s reasoning for not

qualifying the Candidates is entirely substantive, not procedural. The Catoosa GOP’s

complaint specifically states that it “does not believe the Independent Candidates are

Republicans, or that they share the values, principles, and policy goals of the Party.

. .[R. 16]. Such an admission is not representative of a procedural rule, but the

implementation of a substantive and ideological policy, which is expressly

prohibited by O.C.G.A. § 21-2-153(b).

      Because Georgia law compels the Catoosa GOP to qualify all candidates for

local office and the Catoosa GOP otherwise failed to allege any other cognizable

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injury, this Court should affirm the district court’s order of dismissal. Indeed, the

Catoosa GOP never qualified or endorsed the Candidates, nor did any member or

employee of the Board of Elections compel or force the Catoosa GOP to qualify the

Candidates. In fact, the March 8 Order pointedly removed the Catoosa GOP from

the candidate qualification process.

      This Court should affirm the lower court’s order dismissing the Catoosa

GOP’s Complaint for failure to demonstrate a cognizable injury.


   B. Any First Amendment injury suffered by the Catoosa GOP is not fairly
      traceable to the Board of Elections.


      Even assuming, arguendo, the Catoosa GOP has asserted a cognizable injury,

any injury must be “fairly traceable to the challenged action of the defendant, and

not the result of the independent action of some third party not before the court.”

Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560 (1992).

      Here, the Catoosa GOP has failed to allege an injury in fact that is fairly

traceable to the Board of Elections. In fact, the Catoosa GOP admit in their

Complaint that any alleged constitutional violation is not traceable to the Board of

Elections but instead to the March 8 Order. [R. 16-17]. Specifically, footnote 4 to

paragraph 19 of the Complaint acknowledges that the Catoosa GOP “believed that

the reason” the Board of Elections qualified the Candidates “was due to an Order

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(currently under appeal) entered in a lawsuit” between the Candidates and the

Catoosa GOP. [R. 16-17].4

      Despite acknowledging the Catoosa County Superior Court ordered the Board

of Elections to qualify the Candidates to appear as Republicans on the Primary

ballot, the Catoosa GOP suggests that the Board of Elections were under no legal

obligation to follow the March 8 Order because the Board of Elections were not

parties to that civil action. Georgia law, however, provides broad powers to superior

courts to enforce its orders, even against nonparties. Specifically, O.C.G.A. § 15-1-

4(a)(3) provides that the “powers of the several courts to issue attachments and inflict

summary punishment for contempt of court shall extend to only cases of. . .

[d]isobedience or resistance by any officer of the courts, party, juror, witness, or

other person or persons to any lawful writ, process, order, rule, decree, or command

of the courts.” Id. (emphasis added). In Sullivan v. Bunnell, 340, Ga. App. 283

(2017), the Georgia Court of Appeals reaffirmed well settled Georgia law that

provides “in Georgia, the violation of a court’s order by one who was not a party to

the proceedings can be punished as contempt ‘if it is alleged and proved that the




4
 The appeal from the March 8 Order is no longer on appeal. The Georgia Supreme
Court dismissed the Catoosa GOP’s attempts to reverse the March 8 Order. See
Catoosa County Republican Party et al. v. Henry at al., 319 Ga. 794 (2024).

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contemnor had actual notice of the order for disobedience of which he is sought to

be punished.’” Id. at 290 (quoting Bootery, Inc. v. Cumberland Creek Props, Inc.,

271 Ga. 271-272 (1999)).

      Because the Catoosa GOP admits the alleged Freedom of Association injury

is not attributable to the Board of Elections, the Freedom of Association claim should

be dismissed.


    II. The Catoosa GOP has failed to state a Monell Claim against the Catoosa
        County Board of Elections, its Members, and Ms. Moore in their official
        capacities.


      A local government may be held liable under § 1983 only when a

constitutional violation was inflicted pursuant to that local government’s policy or

custom. Monell v. New York City Dept. of Soc. Servs., 436 U.S. 658, 694 (1978). A

“plaintiff can establish municipal liability under Monell in three ways: (1)

identifying an official policy; (2) identifying an unofficial custom or widespread

practice that is so permanent and well settled as to constitute a custom and usage

with the force of law; or (3) identifying a municipal official with final policymaking

authority whose decision violated the plaintiff’s constitutional rights.” Chabad

Chayil, Inc. v. School Board of Miami-Dade County, Florida, 48 F.4th 1222, 1229

(11th Cir. 2022).


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      Though a “single decision by an official policymaker can establish the

existence of an unconstitutional municipal policy” Martinez v. City of Opa-Locka,

971 F.2d 708, 713 (11th Cir. 1992), the Eleventh Circuit has “set forth guiding

principles to evaluate whether the decision of a single official is sufficient to give

rise to municipal liability, among them:

             (1) Municipalities have section 1983 liability only for acts
             officially sanctioned or ordered by the municipality. (2) Only
             those municipal officials who have final policymaking authority
             may subject the municipality to section 1983 liability for their
             actions. (3) The determination of whether or not a particular
             official has final policymaking authority is governed by state law,
             including valid local ordinances and regulations. (4) The
             challenged action must have been taken pursuant to a policy
             adopted by the official or officials responsible for making policy
             in that particular area of the city’s business, as determined by
             state law.”

Chabad Chayil, Inc., 48 F.4th 1222, 1229 (11th Cir. 2022). Finally, and importantly

here, the Eleventh Circuit has repeatedly “recognized and given effect to the

principle that a municipal official does not have final policymaking authority over a

particular subject matter when that official’s decisions are subject to meaningful

administrative review.” Morro v. City of Birmingham, 117 F.3d 508, 514 (11th Cir.

1997).

      In their Complaint, the Catoosa GOP alleges two unconstitutional acts by the

Board of Elections that purportedly violate the Catoosa GOP’s right of Freedom of

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Association. The first alleged wrongful act occurred on March 8, 2024, when the

Board of Elections qualified the Candidates to appear as Republicans on the partisan

Primary ballot. [R. 16-17]. The Catoosa GOP does not dispute that the Candidates

were so-qualified pursuant to, and because of, the March 8 Order. [R. 16-17]. The

second alleged wrongful act occurred on April 2, 2024, when the Board of Elections

conducted a public hearing to address elector challenges filed pursuant to O.C.G.A.

§ 21-2-6. [R. 20]. At the hearing, the Board of Elections handed down a ruling

finding that the Candidates were properly qualified. [R. 20].

      Neither act alleged by the Catoosa GOP supports municipal liability under

Monell. In fact, it is undisputed—and bears repeating—that the Board of Elections

acted pursuant to the March 8 Order in qualifying the Candidates. [R. 16-17]. The

Catoosa County Superior Court crafted the “policy”, not the Board of Elections or

any of its members or officials. The March 8 Order states in pertinent part as follows:

             “The Court hereby utilizes this existing statutory process to craft
             a remedy for [the Candidates]. Pursuant to the order previously
             announced in open court at 8:45am, the Court hereby
             memorializes that oral order and ORDERS that each of the
             [Candidates] is entitled to qualify with the Catoosa County
             election superintendent at their offices pursuant to O.C.G.A. §
             21-2-153(c)(2) as if the county political party had not provided
             sufficient notice and as if the three-day notice had been provided.
             The Court crafts this injunction so that the [Candidates] can be
             listed as candidates on the May 2024 Republican general primary


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             ballot if they qualify with the superintendent as outlined here
             before the close of qualifying at noon today.”

[Exhibit A]. The Board of Elections’ act of following the March 8 Order cannot give

rise to a municipal claim under Monell. The act of qualifying the Candidates

pursuant to the March 8 Order does not meet any of the guiding Monell principles

outlined above. The qualification of the Candidates was not “sanctioned or ordered

by the municipality” and no member or staff member of the Board of Elections acted

to qualify the Candidates until the March 8 Order was announced by Catoosa County

Superior Court Judge Don Thompson. The “challenged action” was not taken

pursuant to the to a “policy adopted by the official or officials responsible for making

policy”. In short, the Board of Elections have been sued for abiding by and following

a court order, and following a court order cannot give rise to a claim under Monell.

      To the extent the Catoosa GOP rests their Freedom of Association Claim on

the Board of Elections’ decision not to disqualify the Candidates at the April 2

hearing, such reliance is also misplaced. Subsection (e) O.C.G.A. §21-2-6 affords

the electors or the candidates “the right to appeal the decision of the superintendent

by filing a petition in the superior court. . .within ten days. . .” Further, the statute

also provides the superior court “may reverse or modify the decision if substantial

rights of the appellant have been prejudiced. . .” O.C.G.A. § 21-2-6(e).


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      Here, because the April 2, 2024, Board of Elections decision is subject to

immediate superior court review, that decision cannot be the basis of a claim for

municipal liability under Monell. Moreover, Plaintiff/Appellant Hildreth followed

(or at least attempted to follow) the appellate procedure detailed in subsection (e) of

the elector challenge statute and appealed the Board of Elections April 2 decision to

the Catoosa County Superior Court, where it was subsequently dismissed. [Ex. B].

Indeed, the Board of Elections April 2 hearing is subject to more than “meaningful

administrative review” as required in Morro. The elector challenge statute expressly

provides for immediate superior court review of the decision and Appellant Hildreth

availed herself of that right to have the Catoosa County Superior Court review the

April 2 decision. Remarkably, Appellant Hildreth did not appeal the Catoosa County

Superior Court’s decision to dismiss her elector challenge appeal.

      Therefore, the Catoosa GOP has failed to state a Monell claim in Count I and

therefore Count I should be dismissed as to the Catoosa County Board of Elections,

its members, and Ms. Moore in their official capacities.


   III.   Ballot Questions are government speech, not private speech, and
          therefore not subject to First Amendment scrutiny.


      The second count in the Catoosa GOP’s Complaint alleges a violation of its

First Amendment right of Freedom of Speech (the “Freedom of Speech Claim”)

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based on the Board of Elections’ alleged failure to include the Ballot Questions on

the Primary ballot. The Freedom of Speech Claim, however, fails as a matter of law

and should be dismissed.

      The following analysis is taken, with slight variations, from the district court’s

order of dismissal:

      The Catoosa GOP alleges that the Board of Elections violated their First

Amendment right to free speech by censoring the requested Ballot Questions. The

threshold question, however, is this Court must first determine whether the ballot

questions are government speech because the First Amendment only "restricts

government regulation of private speech; it does not regulate government speech."

Leake v. Drinkard, 14 F.4th 1242, 1247-48 (11th Cir. 2021) ("When the government

speaks, it may refuse to endorse or freely remove speech of which it disapproves.");

Johanns v. Livestock Mktg. Ass'n, 544 U.S. 550, 553 (2005) ("the Government's own

speech ... is exempt from First Amendment scrutiny"). Although there is no precise

test for government speech, courts have typically looked at three factors: "history,

endorsement, and control." Id.

      In this case, all three of these factors indicate that ballot questions are

government speech. See id. (noting that a court's review will "almost always result

in a finding that the speech is that of the government" where all three factors weigh

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in favor). "The first factor-history-directs [this Court] to ask whether the type of

speech under scrutiny has traditionally communicated messages on behalf of the

government." Id.; Mech v. Sch. Bd. of Palm Beach Cnty., 806 F.3d 1070, 1075-76

(11th Cir. 2015) ("A medium that has long communicated government messages is

more likely to be government speech"). This factor is easily met here. States have

historically used questions, referendums, or initiatives on the ballot to gauge public

interest in proposals to enact or repeal laws or constitutional amendments. See Nan

D. Hunter, Varieties of Constitutional Experience: Democracy and the Marriage

Equality Campaign, 64 UCLA L. Rev. 1662, 1672-73; Nicholas Ansel, Advancing

Criminal Reform Through Ballot Initiatives, 53 Ariz. St. L.J. 273, 276 (2021); Dina

Conlin, Note, Ballot Initiative in Massachusetts: The Fallacy of Direct Democracy,

37 Suffolk U.L. Rev. 1087, 1090-94 (2004) (providing a backdrop of the adoption

of ballot initiatives in the United States from its inception in South Dakota in 1898).

      "The second factor—endorsement—asks whether 'observers reasonably

believe the government has endorsed the message."' Leake, 14 F.4th at 1248;

Cambridge Christian Sch., Inc. v. Fla. High Sch. Ath. Ass'n, 942 F.3d 1215, 1233

(11th Cir. 2019) (clarifying that the "question on the endorsement factor is whether

the speech would be 'closely identified in the public mind with the government").

Notably, the ballot questions are answered as citizens vote in an election—a

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government-organized (and funded) event that is central to our democracy. See

Cambridge Christian Sch., Inc. v. Fla. High Sch. Ath. Ass'n, 942 F.3d 1215, 1233

(11th Cir. 2019) (noting that it is relevant whether the speech is "tied to [the]

government spatially"); Ariz. State Legis. v. Ariz. Indep. Redistricting Comm 'n, 576

U.S. 787, 823 (2015) (referring to voting by ballot as a "core aspect[ ]of the electoral

process regulated by state constitutions"); cf Pleasant Grove City v. Summum, 555

U.S. 460, 472 (2009) (concluding that monuments in public parks were identified

with the government because "parks are often closely identified in the public mind

with the government unit that owns the land").

      And, while the underlying facts of this case occurred during a Republican

primary election, "(t]he fact that private parties take part in the design and

propagation of a message does not extinguish the governmental nature of the

message .... " Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. 200,

217 (2015). This is particularly true where "the government is organizing and

funding the event through which the message is communicated." Leake, 14 F.4th at

1249-50. The fact that a reasonable observer could assume that the Republican Party

endorsed the questions does not change the fact that observers would also assume

that the Government has endorsed any question contained on the primary ballot. See,

e.g., Geary v. Renne, 914 F.2d 1249, 1252 (9th Cir. 1990) ("Although the government

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does not author [voters' pamphlets prepared and distributed by the government with

a sample ballot], it has an interest in the messages that it assembles, publishes, and

distributes and may therefore appear to approve."); cf Gundy v. City of Jacksonville,

50 F.4th 60, 78-79 (11th Cir. 2022) ("the City Council's invocation can be closely

identified in the public mind with the government because the City Council

organizes the invocation, it provides the venue for the invocation, it selects the

speaker for the invocation, and then it begins its business meeting"); Walker v. Tex.

Div., Sons of Confederate Veterans, Inc., 576 U.S. 200,212 (2015) (noting that

observers would assume the government endorsed the designs on license plates

because it bears the state name at the top and the state "issues the plates, regulates

their disposal, and owns the designs"); Leake, 14 F.4th at 1249 (concluding that

"[o]bservers would have reasonably believed the government endorsed" a parade's

message because it advertised and promoted the parade while identifying itself as a

co-host).

      The third factor, control, "asks whether the relevant government unit

'maintains direct control over the messages conveyed' through the speech in

question." Leake, 14 F.4th at 1248. "[C]omplete control is not required." Cambridge

Christian Sch., 942 F.3d at 1236. The Catoosa GOP correctly points out that the

statute granting the Republican Party the right to submit questions "to its members"

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provides that the "superintendent or Secretary of State shall have [the requested]

language printed on the ballot form .... " O.C.G.A. § 21-2-284(d) (emphasis added).

And, while such language does appear to give the Republican Party unfettered

discretion regarding what is included in the questions, this provision should not be

understood in a vacuum.

      The Supreme Court has recognized that, "as a practical matter, there must be

a substantial regulation of elections if they are to be fair and honest and if some sort

of order, rather than chaos, is to accompany the democratic processes." Storer v.

Brown, 415 U.S. 724, 730 (1974); see also Anderson, 460 U.S. at 796 (1983) ("There

can be no question about the legitimacy of the State's interest in fostering informed

and educated expressions of the popular will in a general election."). States have

long outlawed attempts to influence voters within a polling place, and Georgia is no

different. See, e.g., Burson v. Freeman, 504 U.S. 191, 208-11 (1992) (upholding a

state's prohibition of campaigning within 100 feet of a polling place). Georgia law

clearly prohibits electioneering or soliciting votes within a polling place. O.C.G.A.

§ 21-2-414(a) ("[n]o person shall solicit votes in any manner or by any means or

method, .. . [w]ithin any polling place"); O.C.G.A. § 21-2-413(d) ("[n]o person,

when within the polling place, shall electioneer or solicit votes for any political party




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or body or candidate or question, nor shall any written or printed matter be posted

within the room, except as required by this chapter").

      There is no doubt that the Secretary of State correctly identified the Catoosa

GOP’s proposed ballot questions as an attempt at influencing voters by strongly

implying that the Candidates are "anti-Trump Democrats .... " [R. 54]. And, there is

no reason to believe that Georgia's long-standing prohibition on campaigning within

a polling place would not apply to a political party's ballot questions. Cf Eu v. San

Francisco County Democratic Central Comm., 489 U.S. 214 (1989) ("The State

may regulate the flow of information between political associations and their

members when necessary to prevent fraud and corruption."); Minn. Voters All. v.

Mansky, 585 U.S. 1, 15 (2018) ("Casting a vote is a weighty civic act, akin to a jury's

return of a verdict, or a representative's vote on a piece of legislation. It is a time for

choosing, not campaigning. The State may reasonably decide that the interior of the

polling place should reflect that distinction."); Timmons v. Twin Cities Area New

Party, 520 U.S. 351, 363 (1997) ("Ballots serve primarily to elect candidates, not as

fora for political expression.").

       In short, the Ballot Questions are government speech because all three (3)

factors—history, endorsement, control—weigh in favor of such a finding.

Accordingly, the Catoosa GOP’s Freedom of Speech Claim should be dismissed.

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   IV.    The individually named defendants are entitled to both qualified and
          absolute immunity.

   A. The individually named defendants are entitled to qualified immunity.
      In their Complaint, the Catoosa GOP named Tommy Davis, Nina Crawford,

Ron McKelvy, Marvin Cornelison, and Tonya Moore as Defendants in their

individual capacities. All of the individual Defendants, however, are entitled to

dismissal of the Freedom of Association Claim and Freedom of Speech Claim based

upon qualified immunity. Qualified immunity protects from civil liability those

government officials who perform discretionary functions if the conduct of the

officials does not violate clearly established statutory or constitutional rights which

a reasonable person would have known. Nolin v. Isbell, 207 F. 3d 1253, 1255 (11th

Cir. 2000) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Put simply,

the qualified immunity defense protects from suit “all but the plainly incompetent or

those who knowingly violate the law.” Carr v. Tatangelo, 338 F.3d 1259, 1266 (11th

Cir. 2003).

      Because government officials are not required to err on the side of caution,

qualified immunity is appropriate in close cases where a reasonable official could

have believed that his actions were lawful. Lee v. Ferraro, 284 F.3d 1188, 1200 (11th

Cir. 2002) (quoting Marsh v. Butler County Ala., 268 F.3d 1014, 1031 n. 8 (11th Cir.

2001)). As qualified immunity is an entitlement not to stand trial or face the other

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burdens of litigation, courts should “grant the defense of qualified immunity at the

motion to dismiss stage if the complaint ‘fails to allege the violation of a clearly

established constitutional right.’” Gonzalez v. Reno, 325 F.3d 1228, 1233 (11th Cir.

2003).

      The qualified immunity defense requires local government officials to first

establish their conduct was within the scope of their discretionary authority, Lee,

284 F.3d at 1194, which is demonstrated when their “actions were undertaken

pursuant to the performance of [their] duties and within the scope of [their]

authority.” Rich v. Dollar, 841 F.2d 1558, 1564 (11th Cir. 1988).

      Here, the Catoosa GOP alleges that the individual members of the Board of

Elections acted unlawfully on three separate occasions and those acts purportedly

give rise to the Freedom of Association Claim and the Freedom of Speech Claim.

The first alleged wrongful act occurred on March 8 when the Catoosa County

Superior Court ordered the Board of Elections to qualify the Candidates pursuant to

O.C.G.A. § 21-2-153(c)(2). [R. 16-17; Ex. A]. The second alleged wrongful act

occurred on April 2, 2024, when the Board of Elections held a hearing pursuant to

O.C.G.A. § 21-2-6. That hearing resulted in the Board of Elections ruling, by a vote

of 4-1, that the Candidates were qualified for office. [R. 19-20]. The final alleged

wrongful act occurred when the Board of Elections, in reliance on a determination

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made by the Georgia Secretary of State, declined to allow the derisive Ballot

Questions on the Primary ballot. All alleged wrongful acts undertaken by the Board

of Elections were taken pursuant to the Board of Elections’ official duties and within

the scope of the Board of Elections’ authority.

       The burden next shifts to the Catoosa GOP to demonstrate qualified immunity

is not appropriate using the two-prong test established by the Supreme Court in

Saucier v. Katz, 533 U.S. 194, 201 (2001). The first question is whether the facts

alleged show that the Board of Elections violated a constitutional right. Beshers v.

Harrison, 495 F.3d 1260, 1265 (11th Cir. 2007). If the Court finds that a violation of

a constitutional right has been properly alleged, the second question is whether the

right was clearly established at the time of the violation. Lee, 284 F.3d at 1194;

Youmans v. Gagnon, 626 F.3d 557, 562 (11th Cir. 2010) (emphasis added).

Moreover, a court should conduct its inquiry into the second question in light of the

specific context of the case, not as a broad general proposition. Saucier, 533 U.S. at

201.

       Here, as demonstrated above, the acts alleged by the Catoosa GOP do not rise

to constitutional violations. The Catoosa GOP does not enjoy a constitutional right

to solicit votes or electioneer inside a polling location or on a ballot, and in fact, the

Ballots Questions constitute government speech and are not subject to First

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Amendment scrutiny. Moreover, the Candidates were qualified and placed on the

ballot as a result of a superior court order (which resulted from the Catoosa’ GOP

unlawful refusal to qualify the Candidates) and pursuant to a state statute that allows

for the elections superintendent to qualify partisan candidates for office.

      Moreover, even if the Catoosa GOP can show a constitutional violation, they

must also be able to cite to cases that demonstrate the Board of Elections’ conduct

violated a clearly established constitutional right, such that they would understand

that their conduct violated that right. Absent this showing, the members of the Board

of Elections are entitled to qualified immunity. Hope v. Pelzer, 536 U.S. 730, 739

(2002). In the Eleventh Circuit, the law can be “clearly established” for qualified

immunity purposes only by decisions of the U.S. Supreme Court, the Eleventh

Circuit Court of Appeals, or the highest court of the state where the case arose.

Jenkins by Hall v. Talladega City Bd. of Educ., 115 F.3d 821, 826 n. 4 (11th Cir.

1997).

      Furthermore, the alleged violated right must have been clearly established in

a more particularized, and therefore more relevant sense, and the test cannot be

applied at a high level of generality. Festa v. Santa Rosa County, Fla., 413 Fed.

App’x 182, 185, (11th Cir. 2011) (citing Anderson v. Creighton, 483 U.S. 635, 640

(1987)). Put simply, general principles of law are not specific enough to provide fair

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warning to a local government official that his conduct was unlawful. Mercado v.

City of Orlando, 407 F.3d 1152, 1159 (11th Cir. 2005). “[E]xisting precedent must

have placed the statutory or constitutional question beyond debate.” Reichle v.

Howards, 566 U.S. 658, 664 (2012). Thus, if case law, in factual terms, has not

staked out a bright line, then local government officials are entitled to qualified

immunity. Coffin v. Brandau, 642 F.3d 999, 1015 (11th Cir. 2011).

      As to the Freedom of Speech Claim, the Catoosa GOP can point to no case

that would put the Board of Elections on notice that any act related to the Ballot

Questions was unlawful. And it is undisputed that the Ballot Questions claim is one

of first impression for this or any other state or federal court. For the Freedom of

Association Claim, the Catoosa GOP rely on several cases, including the trilogy of

Duke cases and California Democratic Party v. Jones, 530 U.S. 567 (2000), all of

which are discussed above and none of which place the Board of Elections on notice

of any potential constitutional claim. Indeed, the Catoosa GOP’s Brief contains no

argument suggesting that the individual members of the Board of Elections are not

entitled to qualified immunity.

      Therefore, any claim brought against the Board of Elections in their individual

capacities should be dismissed.




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   B. The members of the Board of Elections are entitled to Absolute
      Immunity for any act related to the April 2 hearing.

      To the extent the Catoosa GOP’s Freedom of Association Claim rests on the

Board of Elections ruling at the April 2 hearing, the individual board members are

entitled to absolute immunity. The Supreme Court has noted that “few doctrines

were more solidly established at common law than the immunity of judges from

liability for damages for acts committed within their judicial jurisdiction.” Pierson

v. Ray, 386 U.S. 547, 553-554 (1967). The Supreme Court has also extended

absolute immunity to “certain others who perform functions closely association with

the judicial process.” Cleavinger v. Saxner, 474 U.S. 193, 200 (1985). In applying

absolute immunity to non-judges, the Supreme Court has applied a “functional”

approach to immunity law—that absolute immunity “flows not from rank or title or

location within the Government but from the nature of the responsibilities of the

individual official.” Id at 201 (internal citations omitted). Specifically, the Supreme

Court utilizes a number of factors as “characteristic of the judicial process and to be

considered in determining absolute as contrasted with qualified immunity:

      (a) the need to assure that the individual can perform his functions
      without harassment or intimidation; (b) the presence of safeguards that
      reduce the need for private damages actions as a means of controlling
      unconstitutional conduct; (c) insulation from political influence; (d) the
      importance of precedent; (e) the adversary nature of the process; and
      (f) the correctability of error on appeal.”


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Id. at 202.

      The application of these factors to the April 2 hearing held by the Board of

Elections favors conferring absolute immunity to the individual board members for

the decision handed down on April 2. The Catoosa GOP concedes that the Board of

Elections conducted a hearing on April 2 to hear elector challenges filed pursuant to

O.C.G.A. § 21-2-6(b). [R. 18-20]. Notably, the elector challenge statute

contemplates an adversarial, contested hearing. Subsection (b) provides that the

      “superintendent shall notify the candidate in writing that his or her
      qualifications are being challenged and the reasons therefor and shall
      advise the candidate that he or she is setting a hearing on the matter and
      shall inform the candidate of the date, time, and place of the hearing.”

O.C.G.A. § 21-2-6(b). Importantly, whatever decision is made by the superintendent

(or Board of Elections in Catoosa County), that decision is subject to the appeal

provisions of subsection (e). Specifically, the elector or the candidate “shall have the

right to appeal the decision of the superintendent by filing a petition in the superior

court of the county in which the candidate resides within ten days after the entry of

the final decision by the superintendent.” O.C.G.A. § 21-2-6(e).

      The Catoosa GOP cannot dispute that several electors, including Appellant

Hildreth, exercised (or at least attempted to exercise) their appellate rights and those

elector challenges were appealed to the Catoosa County Superior Court and that


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appeal has been dismissed with prejudice. [Ex. B]. The appellate process set forth in

O.C.G.A. § 21-2-6(e) is similar to appeals from other lower judicatories in Georgia,

such as magistrate court and probate court, and is governed by Chapter 3 (Superior

and State Court Appellate Practice) of Title 5 of the Official Code of Georgia.

      Because the Board of Elections served in a “quasi-judicial” capacity at the

April 2 Hearing, the individual board members are entitled to absolute immunity

from any claim based on that decision.


                                     CONCLUSION


      For the foregoing reasons, the district court’s September 9, 2024, Order

dismissing the Appellants’ Complaint should be AFFIRMED.




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    Respectfully submitted this 2nd day of February, 2025.




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                      CERTIFICATE OF COMPLIANCE



      In compliance with Federal Rule of Appellate Procedure 27(d)(2), the

undersigned counsel hereby certifies the following:

(1)   This Brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because it contains 9,031words, excluding those parts exempted by Fed.

R. App. P. 32(f).


(2)   This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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                          CERTIFICATE OF SERVICE



      I certify that I filed a copy of the foregoing Brief of Appellees with the

Appellate CM/ECF system on February 2, 2025. All counsel of record are registered

CM/ECF users, and service will be accomplished by the CM/ECF system.

      February 2, 2025.



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                                                                       Exhibit B
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                                                                       Exhibit B
